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Plaintiff, Cr. No. 91-20249-M1
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Def dam * fhwa g 2 » U.S. DISTRICT JUDGE
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MOTION TO CONTINUE REVOCATION HEARING

States Attorney, and Stephen C. Parker, Assistant United States Attorney for the Western District

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of Tennessee, and moves the Court for a short continuance in the revocation hearing currently
scheduled for August 25, 2005 at 2:30 p.m. In support of said motion, the United States submits

that the Probation Officer, Lorin Smith is scheduled to attend Sex Offender training in Nashville,

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Tennessee August 22 through 25 . This training is only scheduled once a year and it is critical
that the probation officer attends training Moreover, Mr. Smith is a necessary Witness at this

hearing and the United States cannot proceed without him.

The United States simply requests a new setting at the court’s convenience Even the

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following day of August 26“‘ would be feasible from the viewpoint ofthe United States.

Respectfully submitted,

TERRELL L. HARRlS
UP` ed Staxes Attorney

 

Assistant United States Attorney
167 N. Main, Room 800

Memphis, Tennessee 3 8103

CERTIFICATE OF SERVICE
I, Stephen C. Parker, Assistant United States Attorney for the Western District of

Tennessee, hereby certify that a copy of the foregoing Motion of the United States has been

mailcd, first class postage pre-paid, to Robert C. Irby, Attorney at Law, LAW OFFICE OF

ROBERT C. IRBY, 4345 E. Mallory, Memphis, Tennessee 38103.
f /

This ¢?“' day of August, 2005.

 

 

sTEPHEN c. PARKER
Assistant United States Attomey

   

UNITED sTATE rSTRIC COURT - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:9]-CR-20249 vvas distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

Robert C. Irby

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

